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                       IN THE UNITED STATES DISTRICT COURT

                   FOR THE NORTHERN DISTRICT OF CALIFORNIA

                                                         Case No. 3:19-cv-02552-VC
 STATE OF CALIFORNIA, et al.;

                                       Plaintiffs,       PLAINTIFF-INTERVENORS’
                                                         MEMORANDUM OF POINTS AND
                      and                                AUTHORITIES IN SUPPORT OF
SERVICE EMPLOYEES INTERNATIONAL                          MOTION FOR SUMMARY JUDGMENT
UNION LOCAL 503; et al.;                                 AND OPPOSITION TO DEFENDANTS’
                                                         MOTION TO DISMISS
                            Plaintiff-Intervenors.
                      v.                                 Date:              Feb. 12, 2020
                                                         Time:              10:00 AM
 ALEX M. AZAR II, et al.,                                Courtroom:         4, 17th Floor
                                                         Judge:             Hon. Vince Chhabria
                                     Defendants.
                                                         Complaint Filed:   May 13, 2019
                                                         Trial Date:        Not yet set




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          NOTICE OF MOTION AND MOTION FOR SUMMARY JUDGMENT

      PLEASE TAKE NOTICE that on February 12, 2020 at 10:00 a.m. in Courtroom 4, 450

Golden Gate Avenue, San Francisco, CA, Plaintiff-Intervenors will and hereby do move this

Court for summary judgment on their first through fourth claims for relief, on the grounds that in

issuing the final rule at issue, Defendants violated the Administrative Procedure Act, 5 U.S.C.

§706(2)(A). This Motion is based on this Motion; the Memorandum of Points and Authorities in

support thereof; the Declarations and Supplemental Declarations of Stefanie L. Wilson, Renee

M. Gerni, David Broder, Matthew A. Maldonado, Melissa Unger, Debra Howze, Lesley

Forsythe, and Sherleen Bright; the Administrative Record; this Court’s file, including the

evidence in support of Plaintiff-Intervenors’ Motion to Intervene; the Plaintiff-States’ Motion for

Summary Judgment and materials in support thereof; and all other matters before the Court.

                                        INTRODUCTION

       The challenged regulatory action imposes serious, unwarranted burdens on the ability of

homecare providers—workers who assist disabled or elderly Medicaid beneficiaries with

personal care and other basic needs—to pay for employment benefits and to organize

collectively. See, e.g., Administrative Record (“AR”) 11327 (Declaration of Stefanie L. Wilson

(“Wilson Decl.”), Ex. D). Departing from decades of practice, in the 2019 Final Rule challenged

here Defendants adopted an unprecedented new construction of the Medicaid Act’s “anti-
reassignment provision” that would prohibit homecare providers from voluntarily authorizing

payroll deductions for union dues and other important benefits like health insurance. AR16686-

97. This arbitrary and capricious action must be set aside.

       The anti-reassignment provision, Section 1902(a)(32) of the Medicaid Act, 42 U.S.C.

§1396a(a)(32), generally prohibits the reassignment to third parties of the right to collect

Medicaid payments owed to providers (e.g., hospitals or clinics) for care or services.1 For years

prior to 2018, the Centers for Medicare & Medicaid Services (“CMS”) and Health & Human

1
 This practice is known as “reassignment” because the entitlement to payment is initially
assigned by the beneficiary to the Medicaid provider.


                                                 1
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Services (“HHS”) understood §1902(a)(32) as inapplicable to states’ common practice of

processing homecare providers’ voluntarily authorized payroll deductions for health insurance,

trainings, and other customary employee benefits. See, e.g., AR11869-78. In 2014, CMS

promulgated a regulation reflecting this longstanding understanding, 42 CFR 447.10(g)(4) (the

“2014 Rule”). AR1-9, 50-58.

       In 2017, however, anti-union groups began a campaign attacking homecare provider

unions, falsely claiming that such unions were “skimming” Medicaid funds. AR16698-722.

Relying solely on these sources rather than on any independent fact-finding regarding the payroll

deductions at issue, CMS reversed its decades-old policy and in 2018 announced in a notice of

proposed rulemaking (“2018 NPRM”) that it now interpreted §1902(a)(32) to prohibit payroll

deductions voluntarily authorized by homecare providers to pay for employment benefits and

union dues. Consistent with the anti-union animus behind the change, in making its

announcement, CMS focused almost exclusively on deductions for voluntary union dues. AR59-

63. CMS proposed to withdraw the 2014 Rule, which CMS mischaracterized as having created a

“new exception” to §1902(a)(32) when instead it had simply recognized that §1902(a)(32) was

inapplicable to such deductions. Id. CMS also mischaracterized these payroll deductions as

“diversions” of Medicaid payments. Id. In 2019, CMS issued its Final Rule, withdrawing the

2014 Rule and adopting its new position (contrary to decades of past practice and understanding)
that §1902(a)(32) unambiguously prohibits Medicaid-funded providers from utilizing voluntary

payroll deductions for common employment benefits. AR16686-97.

       In reversing its decades-old policy, CMS acted arbitrarily, capriciously, and contrary to

law: It misconstrued the statute (as explained in Plaintiff-States’ summary judgment brief and

herein), failed to consider serious reliance interests engendered by its prior interpretation, and

failed adequately to explain its policy change. The Final Rule is also arbitrary and capricious

because it rests on erroneous and incoherent rationales and was motivated by improper bias

against homecare provider unions. Because homecare providers and their unions are directly
harmed by CMS’s regulatory action, Defendants’ challenge to Intervenors’ standing fails.

                                                  2
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Intervenors’ complaint also states valid constitutional claims. Defendants’ motion to dismiss

should be denied and summary judgment should be granted on Plaintiff-States’ and Intervenors’

(together, “Plaintiffs”) APA claims.

                                        BACKGROUND

I.     Factual Background

       Medicaid provides coverage for health care and long-term care services, including

homecare, to low-income individuals. Homecare allows elderly and disabled individuals to

remain in their own homes rather than being forced into institutions, which leads to better health

outcomes at lower cost. AR5677. Under the “consumer-directed” or “individual provider”

model for homecare, individual Medicaid beneficiaries hire, fire, and supervise their providers,

but the states that administer the Medicaid program determine and pay providers’ wages,

benefits, and other employment terms. AR8973.2 Plaintiff-States each operate under this model

as joint employers (with Medicaid beneficiaries) of homecare providers, either for collective

bargaining purposes or more broadly. AR13743; 11128. Plaintiff-States deduct from providers’

wages federal, state, and local employment taxes; court-ordered garnishments; and payments for

matters such as training, benefits premiums, and voluntary union dues; they also issue W-2s.3

       The consumer-directed homecare model has existed under Medicaid for decades, see,

e.g., AR13737, and has helped states improve their Medicaid programs through better health
outcomes and more efficient use of funds, AR3. Nonetheless, because of the historic low pay

2
  By contrast, in the “agency model” the state pays private agencies for Medicaid-eligible
services, and those agencies employ homecare providers, including by hiring them, assigning
them to beneficiaries, supervising them, and determining their pay and paying them. AR11327.
3
  See, e.g., AR5835 (“[L]ong before … 2014 …Washington has been facilitating deductions
from provider payroll for things like healthcare premium cost shares, union dues, and [other]
payroll taxes”); 11489 (Oregon is the “employer of record” for consumer-directed homecare
providers); 13733 (Oregon provides workers’ compensation, withholds taxes, and processes
overpayments, court-ordered deductions, child support, and benefits); 13737 (“Payroll functions
have been performed by the [California] on behalf of consumers since … 1974 … includ[ing] …
issuing paper checks or making direct deposits, and withholding state, federal, local employment
and other taxes, as well as other employment-related costs and health insurance premiums.”); see
also AR11153, 11158, 11477 (homecare providers’ paystubs showing deductions from
earnings); Declaration of Bill Moss ¶15; Declaration of Susana Mendoza ¶¶3-4; Declaration of
Debbi Thomson (“Thomson Decl.”) ¶16; Declaration of Jose Espinosa ¶¶3, 11.

                                                3
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and conditions of homecare work, which is physically difficult and emotionally draining, states

have struggled to recruit and retain enough qualified providers to meet demand. AR8, 5678.

       Before forming unions, homecare providers were generally paid at poverty rates—as low

as $3.72 per hour in California—and largely lacked access to basic benefits like paid sick leave

or health insurance. See, e.g., AR15-16, 10261. Beginning in the early 1990s, consumer-

directed homecare providers in some states won the right to organize and bargain collectively

with the state as an employer. See, e.g., AR10501. In those states, unions have helped stabilize

and grow the homecare workforce by increasing recruitment, reducing turnover, improving

training, and establishing benefits.4 Negotiating with the representative democratically chosen

by homecare providers has given states insight and understanding of these workers’ needs.

Declaration of Ken Jacobs (“Jacobs Decl.”) ¶¶44-45; Thomson Decl. ¶25. Homecare providers’

unions have negotiated higher wages, paid time-off, sick leave, and premium holiday pay. E.g.,

AR11331; 11430; 11475. Tens of thousands of homecare providers also now have access to

health insurance through union-negotiated and sponsored programs. Id.; see also AR5390, 5777,

11899. Some unions offer or are negotiating with states to provide retirement benefits. See, e.g.,

AR11431, 11489. And unions, often jointly with the state, provide free or paid training. See,

e.g., AR5578-79; AR11127; AR10500. Many homecare providers have access to additional

benefits, such as life insurance, through their union membership. See, e.g., AR10500. Like most
other employees, homecare providers pay their share of these benefits through payroll

deductions. Id.5


4
  AR13734 (“[the organizing] of the homecare workforce in Oregon has resulted in a higher
quality and more stable workforce”); 14098 (“Washington has worked closely with … the union,
to recruit, train, and retain this workforce.”); 3092-93 (national survey of homecare providers
finding that collective bargaining is correlated with less turnover, greater retention, overtime pay,
higher wages, and benefits); Vikki Wachino, CMCS Informational Bulletin, Suggested
Approaches for Strengthening and Stabilizing the Medicaid Home Care Workforce (Aug. 3,
2016) (“unions can also help support homecare worker training and development” and states
may make authorized deductions for voluntary dues payments) (Wilson Dec. Ex. E).
5
  Under their laws, Plaintiff-States must honor homecare providers’ voluntary union dues
deduction authorizations. Cal. Gov’t Code §12301.6(i)(2); Or. Rev. Stat. §292.055; Wash. Rev.
Code §74.39A.270; 5 ILCS 365/4(3), 365/2; see also AR11429-30, 10486, 11128, 10501, 11399.

                                                 4
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II.    Statutory and Legal Background

       To qualify for federal funds, states must submit to CMS a state Medicaid plan that meets

certain requirements. 42 U.S.C. §§1396a, 1396b. Section 1902(a)(32), enacted in 1972 and

amended in 1977, provides: “[N]o payment under the plan for any care or service provided to an

individual shall be made to anyone other than such individual or the person or institution

providing such care or service, under an assignment or power of attorney or otherwise.” Id. Its

purpose was to address the practice of “factoring,” when providers sold their Medicaid

receivables at a discount to third parties who in turn “submitted claims [to the government] and

received payments in their [own] name[s].” H.R. Rep. 95-383, 1977 U.S.C.C.A.N. 3039, 3051

(1977); see also H.R. Rep. 92-231, 1972 U.S.C.C.A.N. 4989, 5090 (1971). “Factoring” led to

fraudulent and inflated claims, triggering Congress’ adoption of the anti-reassignment provision.

See Missionary Baptist Found. v. First Nat’l Bank, 796 F.2d 752, 757 n.6 (5th Cir. 1986).

       CMS’s implementing regulation for §1902(a)(32) tracks the statute’s enumerated

exceptions and identifies some additional practices that fall outside its scope. 42 CFR §447.10.

Since its adoption in 1978, for example, the regulation has recognized that §1902(a)(32) does not

apply to payments to “[a] foundation, plan, or similar organization operating an organized health

care delivery system, if the practitioner has a contract under which the organization submits the

claim,” id. §447.10(g)(3), although the statute does not address such payments.
       In 2012, CMS proposed a rule confirming that, in line with its longstanding interpretation

and states’ existing practices, the anti-reassignment provision did not contemplate, and therefore

could not have prohibited, payroll deductions for “health and welfare benefits, training costs,

and other [customary employee] benefits” on behalf of providers whose primary source of

income is Medicaid. AR5-6. States had administered such deductions for decades, based on this

understanding, with CMS’s knowledge and approval. See, e.g., AR5778-79.

       CMS explained that Medicaid-funded homecare services had greatly expanded since

Congress had last amended §1902(a)(32) in 1977, and so Congress could not have intended to
address payment structures for consumer-directed homecare providers when it enacted and

                                                5
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amended the law. AR5. CMS also recognized that §1902(a)(32)’s purpose “was to prohibit

factoring arrangements”; that prohibiting homecare providers’ voluntarily elected contributions

for employment benefits “would contravene the fundamental purpose of the provision”; and that

this purpose and legislative history supported its interpretation that such deductions are not

“within the scope of ‘assignments’ or ‘powers of attorney’” that Congress intended to prohibit,

nor “even of the same nature.” AR6-8. “Instead, such payments are more of an ordinary

arrangement to further workforce stability and quality.” AR8. After receiving exclusively

supportive comments, CMS finalized 42 CFR §447.10(g)(4) in the 2014 Rule. AR50-58.

       The administrative record shows that in 2017 anti-union advocates began spreading the

false narrative—using articles, policy papers, and websites—that homecare provider unions were

“skimming” Medicaid funds. This false narrative was then used to urge Defendants to end this

purported “diversion” of Medicaid money.6 The lobbying campaign specifically targeted the

2014 Rule and falsely characterized it as having purported to create a new exception to the anti-

reassignment provision to authorize union dues deduction. Supra note 6. In actuality, as

described above, voluntary deductions for common employee benefits, including union dues, had

been in place under some states’ homecare programs for decades before the 2014 Rule, which

merely clarified the scope of §1902(a)(32). Indeed, as late as June 2018, in response to inquiries

challenging subsection (g)(4), CMS maintained its longstanding position by explaining that such
deductions were “an administratively convenient way to pay for customary [and voluntary]

employee benefits,” and that it had no evidence of diversions of Medicaid funds.7


6
  AR16698-706 (Mackinac Center falsely claiming that union dues “result in the misuses of
millions of dollars” of Medicaid funds and that HHS should regulate to prohibit dues
deductions); 16709-13 (Washington Examiner baselessly claiming abuse of dues deductions by
homecare provider union); AR16714-20 (State Policy Network website falsely claiming that
union dues deductions were “skimming” Medicaid funds and suggesting that unions would force
elderly and disabled Medicaid beneficiaries to negotiate providers’ terms and conditions of
employment); 16721-22 (Fairness Center baselessly claiming that many homecare providers who
pay union dues do not want membership); 16723-724 (Letter from Congressman Ron Johnson to
CMS stating that union dues “skim” Medicaid money); see also Maxford Nelson, Freedom
Foundation, Getting Organized at Home at 4 (July 2018) (Wilson Decl. Ex. G).
7
  AR16734 (quoted text); 16735-36 (lack of evidence of Medicaid fund diversion).

                                                 6
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       In July 2018, CMS abruptly reversed its position and began referring to these same

deductions as “divert[ing]” and “siphon[ing]” Medicaid funds.8 CMS issued the 2018 NPRM,

stating—for the first time—the same position advanced by anti-union groups: that §1902(a)(32)

prohibits payroll deductions that enable homecare providers to pay for voluntary employment

benefits or union dues. AR59-63. CMS incorrectly characterized §447.10(g)(4) as a “new” non-

statutory exception to §1902(a)(32) and proposed to withdraw it. AR61. Although CMS did not

mention union dues in the 2014 Rule, the only regulatory impact the 2018 NPRM discussed was

on the collection of voluntary union dues, which CMS said would need to cease. AR62 n.1

(relying exclusively on anti-union policy organizations referring to voluntary union dues

deductions as Medicaid “skimming”).9 Despite the proposed rule’s significant impacts, and over

numerous objections, CMS curtailed the public’s opportunity to comment to just 30 days. See,

e.g., AR1081-82 & 3166-71.

       In May 2019, CMS published its Final Rule withdrawing §447.10(g)(4) (effective July 5,

2019). AR16686-97. CMS adopted the NPRM’s conclusions without change, produced no new

data or analysis, and again relied on the same anti-union sources. AR16695 & n.2. It again

mischaracterized the 2014 Rule as having impermissibly created a “new exception” to the

statutory prohibition, though subsection (g)(4) had merely confirmed the long-recognized

understanding that the statute permits payroll deduction practices. See AR50-58, 11872-74. The
Final Rule’s only rationale for withdrawing the 2014 Rule was that CMS “lack[s] … express or

implied authority to implement new exceptions to [§]1902(a)(32).” AR16688. CMS took the

position that §1902(a)(32) can only be interpreted to broadly prohibit states “from making any

payment” to anyone other than the provider, even if the payment is not made by assignment,


8
  Press Release, CMS Proposes Rule Change to Protect Medicaid Provider Payments (July 10,
2018), https://www.cms.gov/newsroom/press-releases/cms-proposes-rule-change-protect-
medicaid-provider-payments (Wilson Decl. Ex. F).
9
  The administrative record now reveals that CMS considered even more anti-union
publications—the Mackinac Center Policy Brief, AR16698-16706, and the Fairness Center
article on Smith v. Wolf, 16721-16722—but did not disclose them in the 2018 NPRM, preventing
the public from providing comment.

                                                7
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power of attorney, or similar means, and even if it involves a voluntarily authorized deduction

out of money already earned by the provider. Id. (emphasis added).10 Strikingly, in contrast

with public comments’ extensive documentation of harm that CMS’s new policy would cause to

providers, states’ programs, and homecare consumers, CMS had zero evidence to support its

claims that voluntary union dues deductions were “diverting” or “siphoning” Medicaid funds.11

III.   Procedural History

       California, Washington, Oregon, Massachusetts, and Connecticut filed this lawsuit on

May 13, 2019, and Illinois later joined. Dkt. 1, 78. Two unions (“Unions”) and nine individual

union member homecare providers (“Providers”) intervened (collectively “Intervenors”). Dkt.

72. Defendants have moved to dismiss Intervenors’ complaint for lack of standing and on the

ground that the complaint fails to state plausible APA, First Amendment, or Equal Protection

claims. Dkt. 84. As stipulated and ordered, this brief combines Intervenors’ opposition to the

motion to dismiss and Intervenors’ motion for summary judgment on the APA claims. Dkt. 73.12

                                         ARGUMENT

10
   In other words, CMS’s new position is that it lacks authority to identify any types of
transactions that are outside the scope of the anti-reassignment provision, other than exceptions
enumerated in the statute. The regulation, however, contains another such “exception” that
appears nowhere in the statute, for payments to HMOs under contracts with Medicaid-enrolled
providers, §447.10(g)(3). CMS did not propose to withdraw this regulatory subsection.
11
   Gerni Decl. ¶6b & Ex. C (internal CMS email stating, “if asked to produce … evidence [of
“dues skimming”], I’m not sure what we would produce. The only thing I’ve ever seen was the
original report from the think tank …. We surveyed states in preparation for this NPRM and did
not find such evidence.”); see also infra note 12.
12
   Defendants initially produced an incomplete administrative record. After Intervenors inquired
about missing items, Defendants produced some omitted materials. Wilson Decl. ¶¶2-5. These
additional records reveal that CMS had no evidence of any misuse of Medicaid funds when it
promulgated the Final Rule. See, e.g., AR16736 (CMS, on June 13, 2018, stating that it had no
information about “Medicaid funds diverted for union dues”); 16748-49 (internal notes revealing
that multiple states informed CMS that they had received no complaints regarding voluntary
dues deductions). Despite this additional production, the administrative record remains
incomplete, excluding, at a minimum, records relating to communications between CMS and
states regarding the agency action at issue, records relating to an interpretive guidance that was
an alternative considered in CMS’s decisional process culminating in the Final Rule, and all
purportedly privileged materials. Wilson Decl. ¶4; see also Gerni Decl. ¶6 & Exs. C-H
(examples of redacted internal emails related to 2018 NPRM, and drafts of communications
related to 2018 NPRM obtained via FOIA request). Intervenors reserve the right to move to
compel production of the complete administrative record or for extra-record discovery.

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       Defendants’ motion to dismiss should be denied and Plaintiffs’ motions for summary

judgment granted because (1) Intervenors have standing and have pleaded plausible APA and

constitutional claims; (2) as explained in the States’ brief, the Final Rule is contrary to law; and

(3) as explained herein, the Final Rule is arbitrary and capricious and must be set aside under the

APA because it is based on the erroneous legal premise that the statute compels CMS’s new

interpretation; because CMS failed to consider serious reliance interests or to explain adequately

its policy change; and because the Final Rule is based on erroneous facts, contradicted by record

evidence, and motivated by anti-union animus.

I.     Intervenors Have Standing to Challenge Defendants’ Final Rule

       Intervenors demonstrated standing in moving to intervene, which this Court granted on

permissive grounds. See Dkt. 8 at 21-22; Dkt. 72; Greene v. United States, 996 F.2d 973, 978

(9th Cir. 1993) (permissive intervention requires independent jurisdiction). Nonetheless,

Defendants assert that Intervenors’ injuries are “speculative” and that demonstrating a

“significant burden” on homecare providers’ ability to pay for union dues and other benefits is

insufficient. Dkt. 84 at 12-13. However, Defendants do not dispute that homecare providers rely

on deductions to maintain their union memberships and benefits, that terminating these

deductions will impose economic costs and barriers (particularly on “unbanked” providers

without bank accounts or credit cards), or that the resulting nonpayment of dues or premiums
will result in loss of union memberships or health insurance.13 See Data Processing Serv. Orgs.

v. Camp, 397 U.S. 150, 154 (1970) (economic costs establish injury-in-fact); Valentini v.

Shinseki, 860 F.Supp.2d 1079, 1092 (C.D. Cal. 2012) (“lost access” to government-conferred

conveniences and benefits establishes injury-in-fact). Therefore, the Providers and the Unions’

members have standing.14 See Harris v. Bd. of Supers., 366 F.3d 754, 762 (9th Cir. 2004)

13
   Howze Supp. Decl. ¶¶3-5; Unger Decl. ¶¶26, 28 (Dkt. 8-9); Maldonado Decl. ¶¶41-43 (Dkt. 8-
8); see also Dkts. 8-2 to 8-7, 8-10 to 8-12 (Providers’ declarations in support of intervention);
AR4354-55, 5843-44, 5391, 11899 (comments explaining that providers would lose access to
health insurance without payroll deductions).
14
   Defendants do not contest that the Unions have representational standing to pursue this action
on behalf of their members. See Oster v. Lightbourne, 2012 WL 691833, at *11 (N.D. Cal. Mar.
                                                  9
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(patients had standing where hospital closures would burden their access to health care).

Defendants’ claim that Intervenors’ injuries are “speculative” is also undermined by CMS’s own

estimate that its Final Rule will impact “$71 million in union dues payments” and that Providers

will incur costs to mail payments. AR16695-96; see Cal. v. Azar, 911 F.3d 558, 571-2 (9th Cir.

2018) (injury established when agency’s own regulatory analysis estimated economic costs).

       The Unions will also suffer direct harm from the Final Rule and thus have standing in

their own right.15 Defendants assert that the Unions’ harm is speculative. Dkt. 84 at 12. To

the contrary, specific declarations by union officials as well as historical experience establish

that without payroll deduction some individuals will cease paying dues and the Unions will

lose revenue. Supra note 15. The evidence also shows that the Unions have already been

forced to divert staff time and funds towards developing and implementing alternative systems

of dues payment in response to the 2018 NPRM and Final Rule and will be forced to continue

diverting resources if Defendants’ action is not set aside and enjoined. Id. This diversion of

funds and lost revenue will harm the Unions’ ability to bargain collectively, respond to

grievances, offer benefits and services to members, and engage in other advocacy and support

for homecare providers and consumers, id., which establishes their organizational standing.

See East Bay Sanctuary Cov. v. Trump, 932 F.3d 742, 766 (9th Cir. 2018).

       Defendants object that the Final Rule regulates the states, not providers or unions. Dkt.
84 at 13. But where an asserted injury arises from a third party’s response to a defendant’s

actions, causation is satisfied if the defendant has a “determinative or coercive effect” upon

that third party. Bennett v. Spear, 520 U.S. 154, 169 (1997). The threat of losing federal

Medicaid funding is “coercive,” satisfying the causation requirement; and the states where the

Providers work are committed by statute and by contract to honor homecare providers’


2, 2012) (homecare provider unions had representational standing to challenge changes to state’s
Medicaid plan affecting their members). If one plaintiff (including any State) has standing, the
Court need not decide whether any other plaintiff does. See Harris, 366 F.3d at 761.
15
   Dkt. 8-8 ¶42-51; Dkt. 8-9 ¶29-36; Maldonado Supp. Decl. ¶¶3-7; Unger Supp. Decl. ¶¶3-9.
See also generally Declaration of David Broder (“Broder Decl.”); Jacobs Decl. ¶42.

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voluntary union dues deductions, supra note 5, establishing redressability. See, e.g., Thomson

Decl. ¶30; Nat’l Fed’n of Indep. Businesses v. Sebelius, 567 U.S. 519, 582 (2012).

II.    Intervenors Are Within the Zone of Interests of the Medicaid Act

       Defendants concede that “medical providers” are within the zone of interests of the

Medicaid Act and thus effectively admit that the Providers and the Unions’ members, who are

providers of Medicaid services, satisfy this requirement. Dkt. 84 at 14. Indeed, this Court has

held that homecare providers and their unions are within the Medicaid Act’s zone of interests

“because the services they provide are a critical component of the mandates and benefits

established by those laws” and because the unions represent the interests of their members.

Oster, 2012 WL 691833, at *11 (collecting authorities).

       Defendants’ authorities are readily distinguishable. In Air Courier Conf. of Am. v. Am.

Postal Workers Union, 498 U.S. 517, 524-30 (1991), the unions did not claim associational

standing, and the only interest asserted was in job opportunities with the U.S. Postal Service,

which fell outside the zone of interests of a statute protecting federal revenues by limiting

private postal services.16 Here, by contrast, the Unions have standing on behalf of their

members, and their interests are premised not on lost job opportunities but on protecting

homecare providers’ statutory and contractual rights and maintaining a stable, quality provider

workforce for Medicaid beneficiaries. Dkt. 8-9 ¶32; Dkt. 8-8 ¶52. Because the zone of
interests depends on the statute at issue, Lexmark Int’l v. Static Ctrl. Components, 572 U.S.

118, 130-31 (2014), Defendants’ cases addressing other statutes are inapposite. Dkt. 84 at 13-

14. Defendants cite no authority holding that Medicaid providers fall outside the Medicaid

Act’s or anti-reassignment provision’s zone of interests.

III.   The Final Rule Must Be Set Aside Because It Is Based on an Erroneous Legal
       Premise
       “[I]f [agency] action is based upon a determination of law … [it] may not stand if the

16
  Similarly, in Pile Drivers Local Union No. 2376 v. Lujan, 1989 WL 30254, at *1 (9th Cir.
Mar. 23, 1989) (non-citable under Ninth Circuit Rule 36-3(c)), the union’s interest was only in
job opportunities, which fell outside the environmental protection law’s zone of interests.

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agency has misconceived the law.” SEC v. Chenery Corp., 318 U.S. 80, 94 (1943); Safe Air

for Everyone v. EPA, 488 F.3d 1088, 1101 (9th Cir. 2007) (setting aside agency action based

on “legally erroneous” premise); Prill v. NLRB, 755 F.2d 941, 947 (D.C. Cir. 1985) (“An

agency decision cannot be sustained … where it is based … on an erroneous view of the

law.”). Here, the Final Rule is premised entirely on CMS’s erroneous “new legal analysis”

that §1902(a)(32) unambiguously prohibits payroll deductions for common employee benefits.

AR16688-89. As explained in the States’ brief, however, §1902(a)(32) prohibits only payment

diversions that, like assignments, give the assignee the right to submit claims to the

government, which Congress found susceptible to fraud—as CMS itself recognized for years

prior to 2018. Like the agency in Prill, CMS based its action on its incorrect belief that

§1902(a)(32) speaks “to the precise question at issue,” that it prohibits all payroll deductions,

and that no other interpretation is “explicitly or implicitly authorized,” AR16688-89 (internal

quotations omitted); see Prill, 755 F.2d at 947-48 (setting aside rule because agency

erroneously believed that statute unambiguously compelled reversal of its prior policy). Even

if the plain meaning of the statute were not contrary to CMS’s new interpretation (which it is,

as demonstrated in the States’ brief), the statute would at minimum be ambiguous with respect

to that issue. In that case, CMS’s belief that its action was compelled by §1902(a)(32) would

be an erroneous legal premise that renders its rulemaking invalid.17

IV.    The Final Rule Must Be Set Aside Because CMS Failed to Consider the Serious
       Reliance Interests Engendered by Its Prior Interpretation or to Justify Its Policy
       Change, and Because CMS’s Stated Rationale Is Arbitrary and Capricious
       Although an agency may change its interpretation of a statute it is charged with


17
   Context and legislative intent must be considered when construing a statute unless the
interpretation at issue is compelled by statutory language. See King v. Burwell, 135 S. Ct.
2480, 2489 (2015); id. at 2492-96 (finding ambiguity in statutory provision based on context,
and rejecting statutory interpretation based on plain text, because of its practical consequences
on health insurance market and legislative intent); Fed. Baseball Club v. Nat’l League of Prof.
Baseball Clubs, 259 U.S. 200, 208 (1922) (holding that, considering “nature of the business
involved,” Congress could not have intended Sherman Act to cover professional baseball,
despite lack of express exemption); Gallarde v. I.N.S., 486 F.3d 1136, 1141-42 (9th Cir. 2007)
(holding, based on historical context, that statute foreclosed agency’s construction).

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administering, in doing so it must account for “serious reliance interests” engendered by its

“longstanding policies.” Encino Motorcars, LLC v. Navarro, 136 S. Ct. 2117, 2126 (2016)

(internal quotations omitted). Failure to adequately consider those interests is arbitrary and

capricious. Id. at 2126-27. Addressing serious reliance interests and providing a reasoned

explanation for policy changes are procedural requirements of rulemaking, which must be

satisfied regardless of the merits of the agency’s position. See id. at 2125.18 CMS’s

rulemaking did not satisfy those requirements.

       Failure to Consider Reliance Interests. The record is replete with evidence of

significant reliance interests threatened by CMS’s action, including evidence of stakeholders’

longstanding use of payroll deductions to facilitate the payment of union dues and other

important employee benefits like health insurance.19 CMS dismissed these interests as “not

serious” based on its incorrect assertion that they arose only from the 2014 Regulation.

AR16689. CMS also treated providers’ reliance interests as insignificant because, it said, they

could use other methods to pay for union dues, health insurance premiums, and other benefits,

AR16692. But CMS ignored contradictory evidence in the administrative record

demonstrating that alternative methods were not viable and that, without payroll deductions,

many providers would lose access to these benefits.20 CMS’s failure to consider the serious

reliance interests evident in the record renders the Final Rule arbitrary and capricious. Encino,
136 S. Ct. at 2126-27; New York v. HHS, ---F.3d---, 2019 WL 5781789, at *50 (S.D.N.Y. Nov.

6, 2019) (“HHS’s cursory discounting of the reliance issues here was inadequate…. Based on

18
   An agency’s failure to provide an adequate explanation renders its action procedurally
deficient and thus prevents proper judicial review. See Dep’t of Commerce v. New York, 139 S.
Ct. 2551, 2573-76 (2019).
19
   Supra note 3; see also AR4341-42, 4356, 5778-79, 8976, 13890 (comments describing
longstanding reliance, before 2014 Rule, on payroll deduction systems to administer health and
other benefits to homecare providers).
20
   See, e.g., AR5390-91 (without payroll deduction, providers’ costs for benefits would
necessarily increase and third-party vendors may refuse to offer benefits); 11175 (many
homecare providers lack bank cards and cannot shift to another automatic payment system);
AR4354-55, 5391, 5655, 5684, 5843-44, 11431, 10822, 10066-67, 11899 (comments explaining
that homecare providers would lose health insurance coverage without payroll deductions).

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this lapse, … the promulgation of the 2019 Rule was arbitrary and capricious.”).

       Failure to Justify Policy Change. The Final Rule also does not meet the standard of

reasoned decisionmaking because CMS failed to “show that there are good reasons for the new

policy.” See Encino, 136 S. Ct. at 2126 (internal quotes omitted). A more detailed

explanation is required for an agency’s new statutory interpretation where, as here, serious

reliance interests are at stake. FCC, 556 U.S. at 515. CMS’s prior interpretation of

§1902(a)(32) was supported by historical context, practical realities, and congressional

intent.21 But because the Final Rule mischaracterized the 2014 Rule as having added a new

exception to the statute rather than as having interpreted it, CMS failed to acknowledge, let

alone address, the “facts and circumstances that underlay” the 2014 Rule. Encino, 136 S. Ct.

at 2126 (internal quotations omitted); United Steel v. Mine Safety & Health Admin., 925 F.3d

1279, 1284-85 (D.C. Cir. 2019) (agency’s explanation for changed policy deficient where it

“completely ignored its previous finding” contradicting new policy). CMS completely failed

to consider the context that informed its prior interpretation of the statute. Supra note 21.

Defendants’ argument that CMS supplied “good reasons” because its reversal “was based

solely on a ‘new legal analysis,’” Dkt. 84 at 25, does not save the Final Rule because this terse

and conclusory explanation does not meet the standard required by law, FCC, 556 U.S. at 515;

Encino, 136 S. Ct. at 2126-27 (agency’s “summary discussion” of changed interpretation was
arbitrary and capricious); CMS’s statutory construction is wrong; and CMS’s explanation is

belied by its decision to preserve a different regulatory exception not expressly enumerated at

§1902(a)(32), §447.10(g)(3), which CMS dismissed as “outside the scope of this rulemaking.”

21
   See AR5-8. CMS found that homecare programs developed after §1902(a)(32) was enacted
and, thus, Congress could not have intended to prohibit any payroll practices in these programs;
programs in which the states function as joint employers to facilitate providers’ access to
training, insurance, and other common employee benefits were not “of the same nature” as the
factoring arrangements Congress sought to ban; states’ homecare provider workforces suffered
from high turnover and states had trouble meeting demand; enabling customary employment
benefits would solve those problems by stabilizing and professionalizing the workforce, which
would improve outcomes for Medicaid beneficiaries; giving states flexibility to manage their
homecare workforces is consistent with the Medicaid Act’s purpose; and the deductions at issue
are only those that providers affirmatively and voluntarily authorize.

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AR16689.22

       Failure to Consider Important, Relevant Facts. CMS also failed to acknowledge or

misunderstood several important issues raised by the comments to the 2018 NPRM: first, the

employment relationship between homecare providers and states, second, the impact of the

Rule on other authorized payroll deductions; third, the operation of fiscal management services

(“FMS” or “fiscal intermediaries”); and, fourth, the voluntariness of union dues deductions.

Each of these issues is fundamental to understanding both the statutory and practical context

for the voluntary payroll deductions at issue. CMS’s failure to acknowledge or respond to the

voluminous evidence in the record regarding these issues shows that CMS “entirely failed to

consider an important aspect of the problem, [and] offered an explanation for its decision that

runs counter to the evidence,” such that its rulemaking was arbitrary and capricious. Motor

Vehicle Mfrs. Ass’n v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983).

       Initially, CMS mischaracterized the employment relationship between homecare

providers and states in consumer-directed systems. CMS repeatedly asserted that the Final

Rule does not affect “bona fide employment” situations and that “[a]s non-employees, such

practitioners do not receive salaries or wages from the state.” E.g., AR16690, 16691, 16692,

16689. In doing so, CMS made clear that its reasoning tracked anti-union sources, which also

take the position that consumer-directed homecare providers have no “bona fide” employer
since they work directly for Medicaid beneficiaries. See supra note 6. But the record shows

otherwise: states do pay wages to homecare providers (from which they deduct employment

taxes) and operate as joint employers in many other respects.23 Notably, the Final Rule’s

22
   “[A]n internally inconsistent analysis is arbitrary and capricious.” Nat’l Parks Conserv’n
Assoc. v. EPA, 788 F.3d 1134, 1141 (9th Cir. 2015). Additionally, this internal inconsistency
demonstrates the pretextual nature of CMS’s stated rationale. See New York, 139 S. Ct. at 2575
(finding pretext because of “disconnect between” agency’s decision and proffered rationale);
State v. Ross, 358 F.Supp.3d 965, 1040 (N.D. Cal. 2019) (finding pretext where stated reason
was contradicted by evidence in record).
23
   Supra 3-4 & note 3. CMS was well aware of this relationship prior to the 2018 NPRM. See
AR7 (2012 NPRM finding that each state should enjoy “flexibility in investing in its [homecare]
workforce.” (emphasis added)); 15 (PHI comment in 2012 explaining, “[f]or consumer-directed
home care workers, it is even more vital that states assume some of the human resources
                                                15
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failure to acknowledge that states deduct taxes from homecare providers’ wages also renders

those federally mandated deductions vulnerable to invalidation under CMS’s reasoning and

shows that the Final Rule was driven by an anti-union agenda, not statutory construction.24

       CMS responded to comments expressing concern about the loss of voluntary

deductions by asserting that “nothing in this rule would interfere with an employer’s ability to

make payroll deductions that are required by law or voluntary deductions for things like health

and life insurance, contributions to charitable cases, retirement plan contributions, and union

dues.” AR16690. But that is exactly what CMS expects the Final Rule to do. See AR16694-

95. In this manner, CMS misconstrued the many thousands of comments that complained

about the loss of payroll deductions for critical benefits as being from homecare providers

employed and paid by agencies rather than from providers in consumer-directed programs

affected by the Final Rule because they are paid wages directly by a state. See HHS, 2019 WL

5781789, at *50-51 (although decision was purportedly based on agency’s statutory

interpretation, “HHS’s dismissive treatment of” and “meager and non-committal responses to”

public comments raising important practical concerns was arbitrary and capricious).

       CMS also justified its Final Rule on the basis of an arbitrary and unexplained

distinction between payroll deductions made by the state as a joint employer of homecare

providers (which it deemed impermissible) and deductions made by an FMS vendor (which it
said were allowed). AR16688. In the latter case, states send monies owed to homecare

providers to FMS vendors, which make authorized payroll deductions for taxes, child support,

union dues, and benefits, then remit the remaining wages to the homecare providers. Id.


functions of typical employers.”); see also AR56 (2014 Rule noting that for consumer-directed
homecare providers “the state … has many attributes of an employer”).
24
   In response to comments requesting clarification as to whether states would be allowed to
continue withholding taxes, CMS stated only that providers could make assignments to
governmental agencies. AR16689. But required tax withholdings are not “assignments,” which
by definition are voluntary. See AR16690; Restatement (1st) Contracts §149 (“assignment” is “a
manifestation to another person by the owner of the right indicating his intention to transfer …
the right to such person or to a third person.”). This is yet another example of the arbitrary and
capricious nature of CMS’s rationale.

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CMS’s failure to explain why certain deductions are exempt merely because they are made by

a third party FMS vendor rather than the state itself also renders the Final Rule arbitrary and

capricious. See Nat’l Parks, 788 F.3d at 1143.

       CMS also mischaracterized the voluntary nature of the payroll deductions at issue and

erroneously treated the deductions as coming from funds that would otherwise be used for

Medicaid services rather than from homecare providers’ already earned wages—echoing the

anti-union campaign materials, supra 6 & note 6. The Final Rule claims to “put[] Medicaid

providers back in control of their reimbursements,” AR16689 (emphasis added), falsely

suggesting—contrary to the administrative record—that providers did not control voluntary

deductions for union dues, health insurance, and other benefits.25 Additionally, CMS

repeatedly—and self-servingly—referred to these deductions as “diversions” or “re-

direct[ions]” of Medicaid funds, and suggested that they inflated Medicaid rates, see AR61-62,

16695.26 These characterizations were plainly contradicted by evidence in the record,

including CMS’s prior rulemaking and comments submitted in response to the 2018 NPRM.27

                                        *        *      *

       For all of these reasons, CMS’s purported rationale cannot pass muster, nor “be

ascribed to a difference in view or the product of agency expertise.” State Farm, 463 U.S. at

43. Instead, the record shows that the Final Rule was motivated by anti-union bias. Supra 6 &
note 6. CMS’s new policy mirrored the (misguided) arguments made by anti-union


25
   See AR8 (CMS finding that, generally, “the State would only be allowed to deduct amounts
…. [w]ith the express permission each individual practitioner, [and therefore, …] the amounts
remitted to a third party would be on the behalf of the individual practitioner.”); AR16734 (CMS
June 2018 letter stating that §447.10(g)(4) “only appl[ied] to voluntary arrangements, where the
individual practitioner has expressly elected the benefit and agreed to the state making the third
party payment on his or her behalf”). See also, e.g., AR11128-29, 11430-31, 10451.
26
   See AR16690, 16691, 16692, 16693, 16694, 16695 (CMS references to “payment diversion”
or “redirect[ion]); CMS Press Release, supra note 8.
27
   See AR8 (states cannot claim payments for employee trainings and other common benefits as
Medicaid expenditures, so §447(g)(4) “would have little to no impact on Federal Medicaid
funding levels”); AR5542 (in most states with homecare provider unions, Medicaid spending
was below average); supra note 3 (paystubs showing deductions taken from earnings).

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organizations in their campaign to disrupt homecare provider unions, most notably by focusing

on union dues rather than other commonplace deductions.28 The only outside sources CMS

relied on were articles falsely referring to homecare providers’ voluntarily authorized dues

deductions as “skimming” and “misuse” of Medicaid funds, AR16695 n.2, 16698, 16718—

assertions refuted by the administrative record, supra note 25. CMS’s reliance on such false

claims “is the essence of arbitrary and capricious decisionmaking.” See Mo. Pub. Serv.

Comm’n v. FERC, 337 F.3d 1066, 1075 (D.C. Cir. 2003).29

V.     The Motion to Dismiss Intervenors’ Equal Protection Claim Should Be Denied

       Government action that targets a particular group violates equal protection if motivated

by “a bare … desire to harm” that group. City of Cleburne v. Cleburne Living Ctr., 473 U.S.

432, 446-47 (1985) (internal quotations omitted). Intervenors’ Complaint alleges as follows:

the Final Rule grew out of an effort by anti-union entities to spread the false narrative that

homecare provider unions were “skimming” Medicaid money, Dkt. 73 ¶¶58-62, 87; the Final

Rule “was motivated by animus toward” organized labor and “a bare desire to harm a group

that is particularly disfavored with the current federal administration and its supporters,” id.

¶¶131, 133; the Final Rule is supported by no other legitimate rationale, id. ¶¶75-90; and the

Final Rule has the purpose and effect of harming homecare providers who have chosen to

support their unions, id. ¶¶91-97. These allegations plausibly state an equal protection claim.
See Cleburne, 473 U.S. at 448 (evidence of animus included private parties’ negative

statements in record of decision); Dragovich v. U.S. Dep’t of Treasury, 848 F.Supp.2d 1091,


28
   See, e.g., AR16694-95 (Final Rule will “stop redirecti[on of] a portion of homecare workers’
payments to unions for membership dues”); AR16695 n.2 (citing anti-union publications that
falsely referred to providers’ voluntary dues authorizations as “dues skimming”); AR16695
(failing to quantify economic impact of Final Rule on any payroll deduction except union dues).
29
   Where the record shows that an agency’s stated rationale was not the actual reason for its
action, the agency’s pretext itself violates the APA and is grounds for vacating and remanding.
See New York, 139 S. Ct. at 2573-76; Ross, 358 F.Supp.3d at 1040. Here, CMS had no evidence
of misuse of Medicaid funds, supra notes 11 & 12, and Defendants produced nothing in in the
administrative record—not even in a privilege log—that CMS appears to have directly or
indirectly relied on in promulgating its new interpretation except for anti-union sources making
demonstrably false claims (some of which were not disclosed to the public), supra notes 6 & 9.

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1098-1104 (N.D. Cal. 2012) (looking to “historical background of the decision and the specific

sequence of events leading up to the challenged decision,” and holding that plaintiffs stated

equal protection claim based on animus (internal quotations omitted)); United States v.

Windsor, 570 U.S. 744, 770 (2013) (“unusual deviation” from general practice “is strong

evidence of” animus). Even the limited (and incomplete, supra note 12) administrative record

substantiates these allegations that the Final Rule was actually motivated by animus.30

       Defendants’ motion fails to address Intervenors’ allegations of animus. Other than

Cleburne, which supports Intervenors, none of Defendants’ cases involve claims based on

unconstitutional animus. Dkt. 84 at 26-27. Defendants’ argument that the Final Rule is

supported by rational bases is irrelevant because “no legitimate purpose overcomes the

purpose and effect to disparage and to injure” a targeted group. Windsor, 570 U.S. at 775; see

also USDA v. Moreno, 413 U.S. 528, 543 (1973) (government may not “accomplish [a

legitimate] purpose by invidious distinctions between classes of its citizens.” (internal

quotations omitted)). Intervenors have stated an equal protection claim.

VI.    The Motion to Dismiss Intervenors’ First Amendment Claim Should Be Denied

       Finally, Intervenors state a valid claim that the Final Rule violates the First

Amendment because it targets unions’ and union members’ speech and association. The

“freedom to engage in association for the advancement of beliefs and ideas is an inseparable
aspect” of liberty and freedom of speech enshrined in the Constitution. NAACP v. Alabama,

357 U.S. 449, 460 (1958). Union members exercise this First Amendment right when they pay

voluntary union dues to support their unions’ expressive activities on their behalf. Cf. Janus v.

AFSCME Council 31, 138 S. Ct. 2448, 2464 (2018) (payment to union is First Amendment

expressive activity); Harris v. Quinn, 573 U.S. 616, 647 (2014) (same); AFSCME v.

Woodward, 406 F.2d 137, 139 (8th Cir. 1969) (“Union membership is protected by the right of

30
  Supra 6 & note 6. Discovery on Intervenors’ constitutional claims will generate additional
evidence of animus. See Hensala v. Dep’t of Air Force, 343 F.3d 951, 955 (9th Cir. 2003)
(court-ordered discovery taken in case asserting APA and constitutional challenges to agency
action).

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association under the First and Fourteenth Amendments.”).

       Intervenors’ complaint plausibly alleges that CMS substantially impeded Intervenors’

First Amendment rights by denying them an important benefit (use of payroll deductions to

pay for common employee benefits, including insurance and voluntary union dues) because of

their “association with an unpopular organization”—homecare provider unions. Healy v.

James, 408 U.S. 169, 186 (1972); see also Dkt. 73 ¶¶58-62, 93. Defendants contend that the

Final Rule has “no direct effect” on providers’ freedoms of speech and association, Dkt. 84, at

29, but that argument is belied by the record evidence. Supra 9-10 & note 13. Because of the

Final Rule, Providers and other union members will find it far more difficult to maintain their

memberships, and the Unions will lose much of the member support on which they rely to

engage in protected expressive activities. Id.31 Defendants’ argument that Providers may pay

union dues through other means is irrelevant because the availability of alternatives “does not

ameliorate … the disabilities imposed by the [government’s] action.” Healy, 408 U.S. at 183;

see also Linmark Assoc. v. Willingboro, 431 U.S. 85, 93 (1977) (limitation on speech does not

leave open other channels where those alternatives “involve more cost and less autonomy”).32

                                        CONCLUSION

       The Court should deny Defendants’ motion to dismiss and grant Intervenors’ summary

judgment motion. Intervenors also join the States’ request for a permanent injunction; the
evidence demonstrates, see supra 9-10 & notes 13, 15, that Intervenors will suffer irreparable

harm if Defendants are not enjoined from implementing their new policy.

31
   The Supreme Court has approved certain limitations on payroll deduction for payments to
unions, but only in cases involving a state’s decision not to subsidize union speech through its
own processing of such deductions. See Ysursa v. Pocatello Educ. Ass’n, 555 U.S. 353, 355
(2009); Davenport v. Wash. Educ. Ass’n, 551 U.S. 177, 184 (2007). Here, by contrast, the Final
Rule forces states, against their will, to cease such deductions. Cf. Ala. Educ. Ass’n v. State
Superintendent of Educ., 746 F.3d 1135, 1139 (11th Cir. 2014) (comparing state law to Ysursa’s
because it did not prohibit certain forms of payment, but rather “decline[d] to promote speech”);
see Dallman v. Ritter, 225 P.3d 610, 627-28 (Colo. 2010) (distinguishing Ysursa because it
“addressed] how contributions can be made,” not “a complete ban”).
32
   Defendants fault Intervenors’ Complaint for failing to specifically allege a facial challenge, but
the distinction between facial and as-applied challenges “goes to the breadth of the remedy, not
what must be pleaded in a complaint.” FEC v. Citizens United, 558 U.S. 310, 331 (2010).

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Dated: November 15, 2019     By:   /s/ Stacey M. Leyton
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